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               IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION


UNITED STATES OF AMERICA                                              PLAINTIFF

vs.                            NO. 4:16CR00021-005 SWW

JAMES LAMAR JONES                                                     DEFENDANT

                                        ORDER

         Pending before the Court is government's unopposed motion to dismiss indictment

and superseding indictment against defendant, James Lamar Jones, pursuant to Rule

48(a).

         IT IS SO ORDERED that the government’s motion to dismiss the indictment and

superseding indictment against defendant, James Lamar Jones, [doc #153] be

GRANTED, and the indictment pending against defendant is              dismissed without

prejudice.

         DATED this 21st day of August 2017.

                                                /s/Susan Webber Wright

                                                UNITED STATES DISTRICT JUDGE
